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IS44 (Rey. 09/15) CIVIL COVER SHEET
(he JS 44 civil cover sheet and the information contained herein neither replace nor sappiemeet the Bingend service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
1. (a) PLAINTIFFS DEFENDANTS

JOHN MAHONEY, on behalf of himself and all others similarly situated COLONIAL PARK REALTY COMPANY

 

(b) County of Residence of First Listed Plaintiff Bucks County County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

David S. Glanzberg, Esq. & Robert M. Tobia, Esq., Glanzberg Tobia
Law, P.C., 123 S. Broad Street, Ste 1640, Philadelphia, PA 19109,
(215) 981-5400

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

 

 

 

 

 

   
  
  

 
  

    
  

    

  
  
 

 

      

     
   

             

      

(For Diversity Cases Only) and One Box for Defendant)
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of Business In This State
2 US. Government G4 Diversity Citizen of Another State © 2 © 2 Incorporated and Principal Place Os O05
Defendant (Indicate Citizenship of Parties in Item Ii1) of Business In Another State
Citizen or Subject of a OG 3 © 3 Foreign Nation 56 96
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for? Nature of Suit Code Descriptions
CONTRACT. ee Is; ____ rd SE FORFEITURE/PENALTY [| _ BANKRUP = ;
F110 Insurance PERSONAL INJURY PERSONALINJURY | 625 Drug Related Seizure 6 422 Appeal 28 USC 158 © 375 False Claims Act
7 120 Marine (7 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal G3 376 Qui Tam (31 USC
T 130 Miller Act © 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
T 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
T 150 Recovery of Overpayment | 320 Assault, Libel & . Pharmaceutical |__FPROPERTY RIGHTS JO 410 Antitrust
& Enforcement of Judgment Slander Personal Injury & 820 Copyrights © 430 Banks and Banking
T 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent G 450 Commerce
T 152 Recovery of Defaulted Liability 1) 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application [0 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability 0 840 Trademark Corrupt Organizations
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of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud © 710 Fair Labor Standards 6 861 HIA (1395 ff) (15 USC 1681 or 1692)
4 160 Stockholders’ Suits © 355 Motor Vehicle OG 371 Truth in Lending Act ©) 862 Black Lung (923) O 485 Telephone Consumer
190 Other Contract Product Liability (4 380 Other Personal © 720 Labor/Management 6 863 DIWC/DIWW (405(g)) Protection Act
1 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI 4 490 Cable/Sat TV
196 Franchise Injury OG 385 Property Damage © 740 Railway Labor Act ©) 865 RSI (405(g)) © 850 Securities/Commodities!
(7 362 Personal Injury - Product Liability CO 751 Family and Medical Exchange
Medical Malpractice Leave Act © 890 Other Statutory Actions

   

© 790 Other Labor Litigation __ FEDERAL ' SUMS 9 89) Agricultural Acts
1 791 Employee Retirement © 870 Taxes (U.S. Plaintiff © 893 Environmental Matters

 

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| 220 Foreclosure O 441 Voting © 463 Alien Detainee Income Security Act or Defendant) 895 Freedom of Information
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1 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 O 896 Arbitration
(J 245 Tort Product Liability Accommodations 6 530 General © 899 Administrative Procedure
J 290 All Other Real Property © 445 Amer. w/Disabilities -] (1 535 Death Penalty | IMMIGRATION — Act/Review or Appeal of
Employment Other: © 462 Naturalization Application Agency Decision
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1 560 Civil Detainee -
Conditions of
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V. ORIGIN (Place an “X” in One Box Only)
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (ho not cite jurisdictional statutes unless diversity):
VI. CAU F ACTION Title Ill of the Americans with Disabilities Act
-¢ SE OF A Brief description of cause:
VIL. REQUESTED IN Gl CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cy.P. JURY DEMAND: Yes No

 

VII. RELATED CASE(S)

IF ANY (See instructions): JUDGE a ; <ET NUMBER
DATE SIGNATURE OF ATTORNEY O}
02/20/2020 /s/David S. Glanzberg

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

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JOHN MAHONEY, on behalf of himself and all:
others similarly situated,
Plaintiffs,
V. : CLASS ACTION COMPLAINT
; FOR INJUNCTIVE AND
COLONIAL PARK REALTY COMPANY, : DECLARATORY RELIEF
Defendant. :
it Reo ou, acura innere sarasota perenne 7
INTRODUCTION

Plaintiff JOHN MAHONEY (“Plaintiff’ or “MAHONEY”), on behalf of himself and
others similarly situated, asserts the following claims against Defendant COLONIAL
PARK REALTY COMPANY as follows.

Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the
United States are visually impaired, including 2.1 million who are blind, and according to
the American Foundation for the Blind’s 2016 report, approximately 300,000 visually
impaired persons live in the State of Pennsylvania.

“Being unable to access website puts individuals at a great disadvantage in today’s society,
which is driven by a dynamic electronic marketplace and unprecedented access to
information.” U.S. Dep’t of Justice, Statement of Eve L. Hill before the Senate Comm. on
Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

Plaintiff is a blind, visually-impaired handicapped person and a member of a protected

class of individuals under the

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ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set
forth at 28 CFR §§ 36.101 ef seq.

Plaintiff requires screen-reading software to read website content using his computer.
Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual
impairments who meet the legal definition of blindness in that they have a visual acuity
with correction of less than or equal to 20 x 200.

Plaintiff brings this civil rights action against Defendant to enforce Title III of the
Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires,
among other things, that a public accommodation (1) not deny persons with disabilities the
benefits of its services, facilities, privileges and advantages; (2) provide such persons with
benefits that are equal to those provided to nondisabled persons; (3) provide auxiliary aids
and services—including electronic services for use with a computer screen reading
program—where necessary to ensure effective communication with individuals with a
visual disability, and to ensure that such persons are not excluded, denied services,
segregated or otherwise treated differently than sighted individuals; and (4) utilize
administrative methods, practices, and policies that provide persons with disabilities equal
access to online content.

By failing to make its Website available in a manner compatible with computer screen
reader programs, COLONIAL PARK REALTY COMPANY, a public accommodation
subject to Title III, deprives blind and visually-impaired individuals the benefits of its
online goods, content, and services—all benefits it affords nondisabled individuals—
thereby increasing the sense of isolation and stigma among these Americans that Title III

was meant to redress.
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Upon information and belief, because COLONIAL PARK REALTY COMPANY’s

Website has never been accessible and because COLONIAL PARK REALTY COMPANY

does not have, and has never had, an adequate corporate policy that is reasonably calculated

to cause its Website to become and remain accessible, Plaintiff invokes 42 U.S.C. §

12188(a)(2) and seeks a permanent injunction requiring:

a.

that COLONIAL PARK REALTY COMPANY retain a qualified consultant
acceptable to Plaintiff (“Mutually Agreed Upon Consultant”) who shall assist
it in improving the accessibility of its Website so the goods and services on
them may be equally accessed and enjoyed by individuals with vision related
disabilities;

that COLONIAL PARK REALTY COMPANY work with the Mutually
Agreed Upon Consultant to ensure that all employees involved in website
development and content development be given web accessibility training on a
periodic basis, including onsite training to create accessible content at the
design and development stages;

that COLONIAL PARK REALTY COMPANY work with the Mutually
Agreed Upon Consultant to perform an automated accessibility audit on a
periodic basis to evaluate whether COLONIAL PARK REALTY
COMPANY ’s Website may be equally accessed and enjoyed by individuals
with vision related disabilities on an ongoing basis;

that COLONIAL PARK REALTY COMPANY work with the Mutually
Agreed Upon Consultant to perform end-user accessibility/usability testing on
a periodic basis with said testing to be performed by individuals with various
disabilities to evaluate whether COLONIAL PARK REALTY COMPANY’s
Website may be equally accessed and enjoyed by individuals with vision related
disabilities on an ongoing basis;

that COLONIAL PARK REALTY COMPANY work with the Mutually
Agreed Upon Consultant to create an accessibility policy that will be posted on
its Website, along with an e-mail address and tollfree phone number to report
accessibility-related problems; and

that Plaintiff, their counsel and its experts monitor Defendant’s Website for up
to two years after the Mutually Agreed Upon Consultant validates it is free of
accessibility errors/violations to ensure COLONIAL PARK REALTY
COMPANY has adopted and implemented adequate accessibility policies.

Web-based technologies have features and content that are modified on a daily, and
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in some instances, an hourly, basis, and a one time “fix” to an inaccessible website will not
cause the website to remain accessible without a corresponding change in corporate
policies related to those web-based technologies. To evaluate whether an inaccessible
website has been rendered accessible, and whether corporate policies related to web-based
technologies have been changed in a meaningful manner that will cause the website to
remain accessible, the website must be reviewed on a periodic basis using both automated
accessibility screening tools and end user testing by disabled individuals.
JURISDICTION AND VENUE

This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42
U.S.C. § 12188.

COLONIAL PARK REALTY COMPANY purposefully targets and otherwise solicits
business from Pennsylvania residents through its Website. Because of this targeting, it is
not unusual for COLONIAL PARK REALTY COMPANY to conduct business with
Pennsylvania residents. In fact, the opposite is true: COLONIAL PARK REALTY
COMPANY clearly does business over the Internet with Pennsylvania residents, having
entered into contracts with Pennsylvania residents that involve the knowing and repeated
transmission of computer files over the Internet. See Gniewkowski v. Lettuce Entertain
You, Order, ECF No. 123 (W.D. Pa Apr. 25, 2017) clarified by Order of Court, ECF No.
169 (W.D. Pa. June 22, 2017) (Judge Schwab) (The court exercised personal jurisdiction
over an out-of-forum defendant for claims its website is inaccessible to a visually disabled
resident of the forum state.); see also Access Now Inc. v. Otter Products, LLC, Case No.
1:17-cv-10967-PBS (D.Mass. Dec. 4, 2017) (exercising personal jurisdiction over forum-

based plaintiff's website accessibility claims against out-of-forum website operator).
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Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the judicial
district in which a substantial part of the acts and omissions giving rise to Plaintiff claims
occurred.

This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and
2202.

PARTIES

Plaintiff, at all relevant times, is and was a resident of Bucks County, Pennsylvania.
Defendant is and was at all relevant times a Pennsylvania Corporation doing business in
Pennsylvania, including its location at 5912 Linglestown Road, Harrisburg, Pennsylvania
17112.

Defendant’s locations, its Website and the goods and services offered thereupon, is a public
accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

NATURE OF ACTION

The Internet has become a significant source of information, a portal, and a tool for
conducting business, doing everyday activities such as shopping, learning, banking,
researching, as well as many other activities for sighted, blind and visually-impaired
persons alike.

In today’s tech-savvy world, blind and visually impaired people have the ability to access
website using keyboards in conjunction with screen access software that vocalizes the
visual information found on a computer screen or displays the content on a refreshable
Braille display. This technology is known as screen-reading software. Screen-reading
software is currently the only method a blind or visually-impaired person may

independently access the internet. Unless website are designed to be read by screen-reading
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software, blind and visually-impaired persons are unable to fully access website, and the
information, products, goods and contained thereon.
Blind and visually-impaired users of Windows operating system-enabled computers and
devices have several screen reading software programs available to them. Some of these
programs are available for purchase and other programs are available without the user
having to purchase the program separately. Job Access With Speech, otherwise known as
“JAWS” is currently the most popular, separately purchased and downloaded screen-
reading software program available for a Windows computer. Another popular screen-
reading software program is NonVisual Desktop Access “NVDA.” Plaintiff uses the latter.
For screen-reading software to function, the information on a website must be capable of
being rendered into text. If the website content is not capable of being rendered into text,
the visually-impaired user is unable to access the same content available to sighted users.
The international website standards organization, the World Wide Web Consortium,
known throughout the world as W3C, has published version 2.1 of the Web Content
Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for
making website accessible to blind and visually-impaired people. These guidelines are
universally followed by most large business entities and government agencies to ensure
their website are accessible.
Non-compliant website pose common access barriers to blind and visually-impaired
persons. Common barriers encountered by blind and visually impaired persons include, but
are not limited to, the following:

a. A text equivalent for every non-text element is not provided;

b. Title frames with text are not provided for identification and navigation;
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c Equivalent text is not provided when using scripts;

d. Forms with the same information and functionality as for sighted
persons are not provided;

&. Information about the meaning and structure of content is not
conveyed by more than the visual presentation of content;

f. Text cannot be resized without assistive technology up to 200%
without losing content or functionality;

g. If the content enforces a time limit, the user is not able to extend,
adjust or disable it;

h. Web pages do not have titles that describe the topic or purpose;

i. The purpose of each link cannot be determined from the link text
alone or from the link text and its programmatically determined link context;
j. One or more keyboard operable user interface lacks a mode of
operation where the keyboard focus indicator is discernible;

k. The default human language of each web page cannot be
programmatically determined;

I. When a component receives focus, it may initiate a change in
context;

m. Changing the setting of a user interface component may
automatically cause a change of context where the user has not been advised before
using the component;

n. Labels or instructions are not provided when content requires user
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input, which include captcha prompts that require the user to verify that he or she
is not a robot;

O. In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according
to their specifications, elements may contain duplicate attributes, and/or any IDs
are not unique;

p. Inaccessible Portable Document Format (PDFs); and,

q. The name and role of all User Interface elements cannot be
programmatically determined; items that can be set by the user cannot be
programmatically set; and/or notification of changes to these items is not available
to user agents, including assistive technology.

STATEMENT OF FACTS

Defendant is an insurance company that owns and operates www.endersinsurance.com (its

 

“Website”), offering features which should allow all consumers to access its goods and
services throughout the United States, including Pennsylvania.

Plaintiff is a visually-impaired and legally blind person, who cannot use a computer
without the assistance of screen-reading software. Plaintiff is, however, a proficient NVDA
screen-reader user and uses it to access the Internet.

Plaintiff has attempted to use Defendant’s Website at least once in the past. Unfortunately,
because of COLONIAL PARK REALTY COMPANY’s failure to build its Website in a
manner that is compatible with screen reader programs, he is unable to understand, and
thus is denied the benefit of, much of the content and services he wishes to access or use.

For example:
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a. Many features on the Website lacks alt. text, which is the invisible code
embedded beneath a graphical image. As a result, Plaintiff was unable to
differentiate what products were on the screen due to the failure of the Website
to adequately describe its content.

b. Many features on the Website also fail to Add a label element or title attribute
for each field. This is a problem for the visually impaired because the screen
reader fails to communicate the purpose of the page element. It also leads to the
user not being able to understand what he or she is expected to insert into the
subject field.

c. The Website also contains a host of broken links, which is a hyperlink to a non-
existent or empty webpage. For the visually impaired this is especially
paralyzing due to the inability to navigate or otherwise determine where one is
on the website once a broken link is encountered.

27. As a result of visiting COLONIAL PARK REALTY COMPANY’s Website and from
investigations performed on his behalf, Plaintiff is aware the Website include at least the
following additional barriers blocking his full and equal use:

a. The Website does not provide a text equivalent for every non-text element;

b. The purpose of each link cannot be determined from the link text alone or from
the link text and its programmatically determined link context;

c. Web pages lack titles that describe their topic or purpose;

d. Headings and labels do not describe topic or purpose;

e. Keyboard user interfaces lack a mode of operation where the keyboard focus

indicator is visible;
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f. The default human language of each web page cannot be programmatically
determined;
g. The human language of each passage or phrase in the content cannot be
programmatically determined;
h. Labels or instructions are not always provided when content requires user input;
i. Text cannot be resized up to 200 percent without assistive technology so that it
may still be viewed without loss of content or functionality;
j. A mechanism is not always available to bypass blocks of content that are
repeated on multiple web pages;
k. A correct reading sequence is not provided on pages where the sequence in
which content is presented affects its meaning;
|. In content implemented using markup languages, elements do not always have
complete start and end tags, are not nested according to their specifications,
may contain duplicate attributes, and IDs are not always unique; and
m. The name and role of all UI elements cannot be programmatically determined;
things that can be set by the user cannot be programmatically set; and/or
notification of changes to these items is not available to user agents, including
assistive technology.
These barriers, and others, deny Plaintiff full and equal access to all of the services the
Website offers, and now deter him from attempting to use the Website and/or visit
COLONIAL PARK REALTY COMPANY Still, Plaintiff would like to, and intends to,

attempt to access COLONIAL PARK REALTY COMPANY’s Website in the future to

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research the services the Website offers, or to test the Website for compliance with the
ADA.

Due to Defendant’s failure and refusal to remove access barriers to its website, Plaintiff
and visually-impaired persons have been and are still being denied equal access to
Defendant’s Website, and the numerous goods and services and benefits offered to the
public through the Website.

If the Website were accessible, i.e. if COLONIAL PARK REALTY COMPANY removed
the access barriers described above, Plaintiff could independently research the Website’s
offerings, including office locations and hours and promotions available at the COLONIAL
PARK REALTY COMPANY.

Through his attempts to use the Website, Plaintiff has actual knowledge of the access
barriers that make these services inaccessible and independently unusable by blind and
visually-impaired people.

Though COLONIAL PARK REALTY COMPANY may have centralized policies
regarding the maintenance and operation of its Website, upon and information and belief,
COLONIAL PARK REALTY COMPANY has never had a plan or policy that is
reasonably calculated to make its Website fully accessible to, and independently usable by,
individuals with vision related disabilities. As a result, the complained of access barriers
are permanent in nature and likely to persist.

The law requires that COLONIAL PARK REALTY COMPANY reasonably
accommodate Plaintiff's disabilities by removing these existing access barriers. Removal
of the barriers identified above is readily achievable and may be carried out without much

difficulty or expense.

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Plaintiff's above request for injunctive relief is consistent with the work performed by the
United States Department of Justice, Department of Transportation, and U.S. Architectural
and Transportation Barriers Compliance Board (the “Access Board”), all of whom have
relied upon or mandated that the public-facing pages of website complies with an
international compliance standard known as Web Content Accessibility Guidelines version
2.1 AA (“WCAG 2.1 AA”), which is published by an independent third party known as
the Worldwide Web Consortium (“W3C”).

Plaintiff and the Class have been, and in the absence of an injunction will continue to be,
injured by COLONIAL PARK REALTY COMPANY ’s failure to provide its online
content and services in a manner that is compatible with screen reader technology.
COLONIAL PARK REALTY COMPANY has long known that screen reader technology
is necessary for individuals with visual disabilities to access its online content and services,
and that it is legally responsible for providing the same in a manner that is compatible with
these auxiliary aids.

Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015 Statement of Interest
before the United States District Court for the District of Massachusetts that it has been a
“longstanding position” of the Department of Justice “that the ADA applies to website of
public accommodations.” See National Association of the Deaf v. Massachusetts Institute
of Technology, No. 3:15-cv-300024-MGM, DOJ Statement of Interest in Opp. To Motion
to Dismiss or Stay, Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) (“MIT Statement of Interest”);
see also National Association of the Deaf. v. Harvard University, No. 3:15-cv-30023-
MGM, DOJ Statement of Interest of the United States of America, Doc. 33, p.4 (D. Mass.

Jun. 25, 2015) (“Harvard Statement of Interest”).

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The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In
relevant part, the ADA requires:

In the case of violations of . . . this title, injunctive relief shall include an order to alter
facilities to make such facilities readily accessible to and usable by individuals with
disabilities... Where appropriate, injunctive relief shall also include requiring the . . .
modification of a policy...

42 U.S.C. § 12188(a)(2).

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There is no DOJ administrative proceeding that could provide Plaintiff with Title III
injunctive relief.

While DOJ has rulemaking authority and can bring enforcement actions in court, Congress
has not authorized it to provide an adjudicative administrative process to provide Plaintiff
with relief.

Plaintiff alleges violations of existing and longstanding statutory and regulatory
requirements to provide auxiliary aids or services necessary to ensure effective
communication, and courts routinely decide these types of matters.

Resolution of Plaintiff's claims does not require the Court to unravel intricate, technical
facts, but rather involves consideration of facts within the conventional competence of the
courts, e.g. (a) whether COLONIAL PARK REALTY COMPANY offers content and
services on its Website, and (b) whether Plaintiff can access the content and services.
Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to
be unable to independently use the Website, violating their rights.

CLASS ACTION ALLEGATIONS

Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a nationwide

class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

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States who have attempted to access Defendant’s Website and as a result have been denied
access to the equal enjoyment of goods and services, during the relevant statutory period.
Common questions of law and fact exist amongst Class, including:

a. Whether Defendant’s Website is a “public accommodation” under

the ADA;

b, Whether Defendant’s Website denies the full and equal enjoyment

of its products, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities, violating the ADA.
Plaintiff's claims are typical of the Class. The Class, like Plaintiff, are visually impaired or
otherwise blind, and claim that Defendant has violated the ADA by failing to remove
access barriers on its Website so as to be independently accessible to the Class.
Plaintiff will fairly and adequately represent and protect the interests of the Class Members
because Plaintiff has retained and is represented by counsel competent and experienced in
complex class action litigation, and because Plaintiff has no interests antagonistic to the
Class Members.
Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because
Defendant has acted or refused to act on grounds generally applicable to the Class, making
appropriate both declaratory and injunctive relief with respect to the Class as a whole.
Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact
and legal questions common to Class Members predominate over questions affecting only
individual Class Members, and because a class action is superior to other available methods

for the fair and efficient adjudication of this litigation.

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Judicial economy will be served by maintaining this lawsuit as a class action in that it is
likely to avoid the burden that would be otherwise placed upon the judicial system by the
filing of numerous similar suits throughout the United States.

FIRST CAUSE OF ACTION
VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 ef seq.

Plaintiff, on behalf of himself and the Class Members, repeats and realleges every
allegation of the preceding paragraphs as if fully set forth herein.

Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

No individual shall be discriminated against on the basis of disability in the full and equal
enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation by any person who owns, leases (or leases to), or
operates a place of public accommodation.

42 U.S.C. § 12182(a).

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Defendant’s Website is a public accommodations within the definition of Title III of the
ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the general public,
and as such, must be equally accessible to all potential consumers.

Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny
individuals with disabilities the opportunity to participate in or benefit from the products,
services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §
12182(b)(1)(A)(i).

Under Section 302(b)(1) of Title II] of the ADA, it is unlawful discrimination to deny
individuals with disabilities an opportunity to participate in or benefit from the products,
services, facilities, privileges, advantages, or accommodation, which is equal to the
opportunities afforded to other individuals. 42 U.S.C. § 121 82(b)(1)(A)(ii).

Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

among other things:

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[A] failure to make reasonable modifications in policies, practices, or procedures, when
such modifications are necessary to afford such goods, services, facilities, privileges,
advantages, or accommodations to individuals with disabilities, unless the entity can
demonstrate that making such modifications would fundamentally alter the nature of such
goods, services, facilities, privileges, advantages or accommodations; and a failure to take
such steps as may be necessary to ensure that no individual with a disability is excluded,
denied services, segregated or otherwise treated differently than other individuals because
of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
such steps would fundamentally alter the nature of the good, service, facility, privilege,
advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

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The acts alleged herein constitute violations of Title III of the ADA, and the regulations
promulgated thereunder. Plaintiff, who is a member of a protected class of persons under
the ADA, has a physical disability that substantially limits the major life activity of sight
within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been
denied full and equal access to the Website, has not been provided services that are
provided to other patrons who are not disabled, and has not been provided any reasonable
accommodation to those services. Defendant has failed to take any prompt and equitable
steps to remedy its discriminatory conduct. These violations are ongoing.

Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and
incorporated therein, Plaintiff, requests relief as set forth below.

SECOND CAUSE OF ACTION
DECLARATORY RELIEF

Plaintiff, on behalf of himself and the Class Members, repeats and realleges every
allegation of the preceding paragraphs as if fully set forth herein.

An actual controversy has arisen and now exists between the parties in that Plaintiff
contends, and is informed and believes that Defendant denies, that its Website contains
access barriers denying blind customers the full and equal access to the products, services

and facilities of its Website, which Defendant owns, operations and controls, fails to

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comply with applicable laws including, but not limited to, Title III of the Americans with
Disabilities Act, 42 U.S.C. § 12182, ef seq. prohibiting discrimination against the blind.
A judicial declaration is necessary and appropriate at this time in order that each of the
parties may know their respective rights and duties and act accordingly.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

A Declaratory Judgment that at the commencement of this action COLONIAL PARK
REALTY COMPANY was in violation of the specific requirements of Title III of the ADA
described above, and the relevant implementing regulations of the ADA, in that
COLONIAL PARK REALTY COMPANY took no action that was reasonably calculated
to ensure that its Website is fully accessible to, and independently usable by, individuals
with visual disabilities;

A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which
directs Defendant to take all steps necessary to bring its Website into full compliance with
the requirements set forth in the ADA, and its implementing regulations, so that its Website
is fully accessible to, and independently usable by, blind individuals, and which further
directs that the Court shall retain jurisdiction for a period to be determined to ensure that
Defendant has adopted and is following an institutional policy that will in fact cause it to
remain fully in compliance with the law—the specific injunctive relief requested by
Plaintiff is described more fully in paragraph 8 above;

An award of costs and expenses of this action;

Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §
36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Hadix v. Johnson, 143 F.3d 246 (6th Cir. 1998), aff'd in part, rev'd in part, 527 U.S. 343

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Dated:

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(1999); Jenkins v. Missouri, 127 F.3d 709 (8th Cir. 1997); Walker v. U.S. Dep't of Hous.

& Urban Dev., 99 F.3d 761 (Sth Cir. 1996); Stewart v. Gates, 987 F.2d 1450, 1452 (9th
Cir. 1993) (district court should permit compensation for the post judgment monitoring
efforts by the plaintiffs counsel that are “useful and necessary to ensure compliance with

the court's orders”); Garrity v. Sununu, 752 F.2d 727, 738-39 (1st Cir. 1984); Adams v.

Mathis, 752 F.2d 553 (11th Cir. 1985); Willie M. v. Hunt, 732 F.2d 383, 385, 387 (4th Cir.
1984): Bond v. Stanton, 630 F.2d 1231, 1233-34 (7th Cir. 1980); Northcross v. Board of
Educ., 611 F.2d 624, 637 (6th Cir. 1979) (“Services devoted to reasonable monitoring of
the court's decrees, both to ensure full compliance and to ensure that the plan is indeed
working. ..are essential to the long-term success of the plaintiff's suit.”) (citing 3" Circuit's
support for District Court’s award of prospective fees to plaintiff's counsel);

An order certifying the Class under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing
Plaintiff as Class Representative, and his attorneys as Class Counsel; and

Such other and further relief as this Court deems just and proper.

Philadelphia, Pennsylvania
February 18, 2020

 

des LAW, P.C.

By: /s/ David §. Glanzberg

David S. Glanzberg, Esq.
david.glanzberg@gtlawpc.com

123 South Broad Street, Suite 1640
Philadelphia, PA 19109

Tel: (215) 981-5400

Fax: (267) 319-1993

ATTORNEYS FOR PLAINTIFF

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

JOHN MAHONEY, on behalf of himself and : CIVIL ACTION
all others similarly situated :

v.
COLONIAL PARK REALTY COMPANY, ; NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. A

  

 

 

02/18/2020 David r John Mahoney
Date Attorney-at-law ~~ \_ Attorney for
(215) 981-5400 (267) 319-1993 david.glanzberg@gtlawpc.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:20-Ccv-03228-AR rHQGume MdreladOg¢{01/20 Page 21 of 21
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

 

 

Address of Plaintiff: 7203 Centennial Station, Warminster, PA 18974
Address of Defendant: 5912 Linglestown Road, Harrisburg, PA 17112
Place of Accident, Incident or Transaction: Bucks County

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ ] No [Uy
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No [4
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [AT
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No [a
case filed by the same individual?

 

 

 

 

I certify that, to my knowledge, the within case [1 is / snot rétgted tany gase gow pending or within one year previously terminated action in
this court except as noted above. \ YN
pate SOO" DOA 5020
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)
CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
faa 1 Indemnity Contract, Marine Contract, and All Other Contracts oO 1. Insurance Contract and Other Contracts
[] 2. FELA 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury 3. Assault, Defamation
[] 4. Antitrust ( 4. Marine Personal Injury
H 5. Patent L] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations (] 6. Other Personal Injury (Please specify):
[] 7. Civil Rights C] 7. Products Liability
[] 8. Habeas Corpus CJ 8. Products Liability - Asbestos
9. Securities Act(s) Cases [] 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): ___ Americans with Disabilities Act (446)

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

L David S. Glanzberg

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

DATE: _ 02/18/2020 AN PA 50820

 

Attorney-at-Law / Pro Se Plaintiff Attorney 1.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
